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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
                                             ***


UNITED STATES OF AMERICA,

                   Plaintiff,                            02:07-CR-00080-CRW-PAL

v.
                                                                  ORDER
MICHAEL JENKINS,

                Defendant.



               On this date the court held a status conference with counsel by telephone

conference call.

               On or before June 29, 2012, the parties shall file a proposed final pretrial order

listing all trial witnesses and exhibits and stipulating how defendant will be transferred to the

U.S. Courthouse in Las Vegas for trial on July 31, 2012.

               The parties shall file trial briefs on or before July 13, 2012.

               IT IS SO ORDERED.

               Dated this 1st day of June, 2012.




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